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 July 1, 2024

 VIA E-Mail

 Hon. Freda L. Wolfson, U.S.D.J. (ret.)
 Lowenstein Sandler LLP
 One Lowenstein Drive
 Roseland, New Jersey 07068

                Re:    Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                       No. 2:22-cv-02632 (JKS) (CLW)

 Dear Judge Wolfson:

        On behalf of Defendant Save On SP, LLC (“SaveOn”), we write in response to Plaintiff

 Johnson and Johnson Health Care Systems, Inc.’s (with its affiliates, “J&J”) motion for in camera

 review of four text message conversations produced by SaveOn.
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           SaveOn does not oppose in camera review of the four documents at issue: SOSP_1068408,

 SOSP_1068420, SOSP_1068512, and SOSP_1332950.1 J&J’s submission is devoted in substan-

 tial part to arguments that the redacted portions of these messages are not in fact privileged.

 SaveOn writes to address the law that applies and to explain why the redacted messages are priv-

 ileged.

 I.        New Jersey Law Governs This Dispute

           Federal courts sitting in diversity apply the privilege law of the state in which they sit. Chen

 v. Ming Dow Ho, 2005 WL 8176175, at *3 (D.N.J. Mar. 8, 2005). When resolving choice of law

 issues, New Jersey courts perform a two-step analysis. First, the court determines whether there is

 a conflict between the forum state’s laws and the laws of the other interested state. P.V. ex rel. T.V.

 v. Camp Jaycee, 197 N.J. 132, 143 (2008). Second, the court applies the law of the state with the

 “most significant relationship” to the dispute. In re Accutane Litig., 235 N.J. 229, 257-63 (2018).

 If there is no conflict, the court does not reach the second step. Calabotta v. Phibro Animal Corp.,

 460 N.J. Super 38, 54 (App. Div. 2019). Because J&J does not identify a conflict between the laws

 of New Jersey and New York regarding the application of privilege, New Jersey law applies.

           New Jersey recognizes the attorney-client privilege. The party asserting the privilege must

 show that a document withheld on that basis is or reflects a communication between an attorney

 and a client for the purposes of facilitating the rendition of legal advice or services. O’Boyle v.

 Borough of Longport, 218 N.J. 168, 185 (2014). The communication must be primarily of legal




 1
   During the meet-and-confer process, J&J did not ask SaveOn if it would consent to in camera
 review. Had it done so, SaveOn would have agreed, even though it disagrees that J&J has presented
 sufficient facts to warrant such review.


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 character and confidential. Id. at 186. An attorney need not appear directly on the document; doc-

 uments and communications between non-attorneys that reveal the contents of attorney-client priv-

 ileged communications may be withheld or redacted. See, e.g., In re Riddell Concussion Reduction

 Litig., 2016 WL 7108455, at *5 (D.N.J. Dec. 5, 2016) (privileged communications remain privi-

 leged even if shared among non-attorney corporate employees if sharing the communications ad-

 vances the attorney’s representation); Travelers Prop. Cas. Co. of Am. v. USA Container Co., Inc.,

 2012 WL 12898823, at *20 (D.N.J. Oct. 25, 2012) (same), report and recommendation adopted

 2012 WL 12903853 (D.N.J. Nov. 28, 2012).

        New Jersey also recognizes the common interest doctrine, which allows communications

 that are protected by the attorney-client privilege to maintain that protection when shared among

 parties with a common interest in litigation. The doctrine acts as an exception to waiver of privilege

 through third-party disclosure when “(1) the disclosure is made due to actual or anticipated litiga-

 tion; (2) for the purposes of furthering a common interest; and (3) the disclosure is made in a

 manner not inconsistent with maintaining confidentiality against adverse parties.” LaPorta v.

 Gloucester Cnty. Bd. of Chosen Freeholders, 340 N.J. Super 254, 259 (App. Div. 2001) (quotation

 marks omitted). The common interest doctrine covers communications between corporate repre-

 sentatives of entities that share a common interest, even if there are no attorneys present on those

 communications. Gallo v. PHH Mort. Corp., 2015 WL 12851917, at *5 (D.N.J. June 4, 2015).

 II.    The Redacted Material Is Privileged

        J&J does not dispute that SaveOn and ESI share a common interest in this litigation, and

 so cannot dispute that the sharing of privileged information between those entities does not waive

 the underlying privilege in the shared materials. The only issue before Your Honor is whether the

 redacted portions of the text messages in SOSP_1068408, SOSP_1068420, SOSP_1068512, and



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 SOSP_1332950 between an executive of SaveOn, Jody Miller, and an executive of ESI, Meghan

 Pasicznyk, are privileged. They are.

        A. SOSP_1332950 is Properly Redacted

        The redacted messages in SOSP_1332950 reflect legal advice regarding a letter that

 Janssen CarePath sent to a patient on a SaveOn-advised plan informing the patient that her benefits

 may change (J&J Ex. 16). This letter, which was sent during this litigation, touched on a core issue

 in the case—the meaning of CarePath’s terms and conditions. Id. Miller’s message,



 Pasicznyk’s messages reflect

                 Because these messages reflect legal advice

                                            , the messages are properly redacted for attorney-client

 privilege.

        J&J refers to an email from the same day as this message, J&J Ex. 15,



                                Mot. 7-8. From there, J&J asserts that the redacted texts

                                                  Id. Not so. The email that J&J cites




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        B. SOSP_1068408, SOSP_1068420, and SOSP_1068512 Are Properly Redacted

        The redacted messages in SOSP_1068408, SOSP_1068420, and SOSP_1068512 reflect

 privileged communications regarding

                                                               .2

        In January 2023, J&J requested that SaveOn produce a list of patients on SaveOn-advised

 plans. Dkt. 65 at 2 (Jan. 5, 2023 Joint Letter). After motion practice, SaveOn produced the list,

 designating it as Attorneys’ Eyes Only (“AEO”) under the Discovery Confidentiality Order

 (“DCO”). Dkt. 62.3 On May 16, 2023, J&J demanded that SaveOn de-designate the list from AEO

 to Confidential so that J&J could use it to remove patients on the list from CarePath. Dkt. 109 at 7

 (June 2, 2023 Joint Letter). SaveOn refused. J&J moved to remove SaveOn’s AEO designation

 from the list. On June 6, 2023, Judge Waldor denied J&J’s motion, acknowledging the significance

 of J&J’s request:

        [Y]our assumptions are this, that you’ve won your case. You are the judge jury, and
        executioner here. … therefore [SaveOn] should not be entitled to continue its com-
        mercial endeavors. … You’re trying to prove your case. It’s almost like prior re-
        straint of some sort to, in fact, cut off their means to do business because your case
        says that they are doing the wrong thing. And we just don’t have proof of that. And,
        again, that would be up to the finder of fact. …


 2
   SaveOn also asserts that the redacted messages are covered by the work product privilege.
 SaveOn informed J&J that it was asserting work product protections over these messages on Feb-
 ruary 27, 2024. Ex. 1 (Feb. 27, 2024 Ltr. from E. Snow to C. Zielinski). J&J acknowledged
 SaveOn’s assertion of work product privilege on March 11, 2024, and did not challenge that as-
 sertion in the parties’ correspondence. Ex. 2 (Mar. 11, 2024 Ltr. from C. Zielinski to E. Snow).
 While briefing this opposition, SaveOn discovered that it inadvertently omitted the work product
 designation from its April 26, 2024 privilege log. SaveOn served a corrected privilege log on J&J
 on July 1, 2024.
 3
   Under the DCO, a party has a right to designate any materials AEO “that contains highly sensitive
 business or personal information, the disclosure of which is likely to cause significant harm to an
 individual or to the business competitive position of the Producing Party.” Dkt. 62 at 1-2. When
 materials are marked AEO, the list of people that can view the materials is limited to counsel, the
 court, and staff that assist counsel and the court in processing those materials. Id. at 4-6


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        I believe that the end here is commercial and punitive measures. In other words,
        you want me to issue a sort of preliminary injunction [tying] hands. I am not going
        to do that. This is discovery. … As I said, acting as the judge and jury is not appro-
        priate in this case.

 June 6, 2023 Hr’g. Tr. 39:16-40:3; 47:22-8.

        Between May 16 and May 30, 2023, SaveOn consulted with its outside litigation counsel,

 Selendy Gay, representatives from ESI, and ESI’s counsel regarding potential responses to J&J’s

 request to de-designate the patient list. As a result of those consultations, and with input from

 counsel, on May 30, 2023, SaveOn sent letters to plan sponsors and medical providers explaining

 the state of the litigation and the possible outcomes of J&J’s then-pending motion. Exs. 3, 4

 (JJHCS_00158775, JJHCS_00201689). SaveOn informed providers and plans that J&J had told

 SaveOn that it intended to remove patients on SaveOn-advised plans from CarePath. In response

 to SaveOn’s letters, both SaveOn and J&J received phone calls and inquiries from recipients of

 the letters. During the weeks after SaveOn sent the letters and continuing after Judge Waldor ruled

 on J&J’s motion, SaveOn regularly consulted with its outside counsel and with ESI and ESI’s

 counsel regarding the impact of J&J’s motion and SaveOn’s response on this litigation.



        J&J’s assertion that SaveOn’s letters were “part of an established commercial strategy” is

 demonstrably not true—the letters explicitly responded to J&J’s actions in this litigation. Exs. 3,

 4. The redacted texts were sent when SaveOn was reacting to J&J’s motion to de-designate and

 Judge Waldor’s order: SOSP_1068408 on June 2, 2023, SOSP_1068420 on June 14, 2023, and

 SOSP_1068512 on June 24, 2023. Each reflects privileged communications:

           J&J Ex. 2 (SOSP_1068408).




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            J&J Ex. 3 (SOSP_1068420).



            J&J Ex. 4 (SOSP_1068512).




         The messages thus reflect information protected by the attorney-client privilege. Because

 J&J does not challenge the common interest between ESI and SaveOn or claim that SaveOn oth-

 erwise waived privilege, the conclusion that the redacted materials reflect privileged information

 is sufficient to resolve this dispute.




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       We appreciate Your Honor’s attention to this matter.

                                        Respectfully submitted,


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